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United States District Court
Eastern District of Michigan
Southern Division

United States of America,

Plaintiff,
Hon. Terrence G. Berg

Vv.
Case No. 17-cr-20639

D-3 Mariano Lozoya Garcia,

Defendant.
/

Plea Agreement

The United States of America and the defendant, Mariano Lozoya Garcia,
have reached a plea agreement under Federal Rule of Criminal Procedure 11. The
plea agreement’s terms are:

1. Counts of Conviction

The defendant will plead guilty to Count 1, Count 3, and Count 5 of the
Third Superseding Indictment. Count 1 charges the defendant with Aiding and
Abetting the Interstate Travel with the Intent to Kill, Injure or Harass, Death
Resulting under 18 USC §§ 2261A(1) and 2261(b)(1). Count 3 charges the
defendant with Aiding and Abetting the Interstate Travel in Aid of Unlawful
Activity, Death Resulting, under 18 USC § 1952. Count 5 charges the defendant

with Conspiracy to Possess with Intent to Distribute and to Distribute 5 Kilograms |

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or more of Cocaine and a Detectable Amount of Heroin under 21 USC §§ 846,

841(A)(1), 841(b)(1)(A), 841(b)(1)(C) and 851.

2. Statutory Minimum and Maximum Penalties

The defendant understands that the counts to which he is pleading guilty

carry the following minimum and maximum statutory penalties:

Count i Term of imprisonment: Up to Life
Fine: $250,000
Term of supervised release: 5 years

Count 3 Term of imprisonment: Up to Life
Fine: $250,000
Term of supervised release: 5 years

Count 5 Term of imprisonment: 15 years to Life
Fine: $20,000,000
Term of supervised release: 10 years to Life

The defendant further understands that the Court has the discretion to run the

sentences of imprisonment on the counts of conviction consecutively to each other.

The defendant understands that Count 5 requires a mandatory minimum

sentence of 180 months’ imprisonment and that the Court may not impose a

sentence on that count below the mandatory minimum.

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3. Agreement to Dismiss Remaining Charges

If the Court accepts this agreement and imposes sentence consistent with its
terms, the United States Attorney’s Office for the Eastern District of Michigan will
move to dismiss any remaining charges in the indictment against the defendant in
this case. Specifically, the United States Attorney’s Office will move to dismiss
Counts 2 and 4, Use and Carrying a Firearm During and in Relation to a Crime of
Violence Causing Death; and, Count 6, Use and Carrying a Firearm During and in
Relation to a Drug Trafficking Offense Causing Death; all three counts in violation
of 18 U.S.C. §§ 924(c) and (j). Additionally, the government will move to dismiss
Count Seven, Conspiracy to Launder Monetary Instruments in violation of 18
U.S.C. § 1956(b).

4, Elements of Counts of Conviction

The elements of Count 1 are:

a) First, the crime of Interstate Travel with the Intent to Kili, Injure or
Harass, Death Resulting, was committed. The crime of Interstate Travel
with the Intent to Kill, Injure or Harass, Death Resulting is committed
when:

i. An individual traveled in interstate or foreign commerce;
ii. The individual did so with the intent to kill, injure, or harass

another person;

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iii. In the course of, or as a result of, such travel the individual
engaged in conduct that placed that other person in
reasonable fear of the death or serious bodily injury to that
person; and

iv. The individual’s conduct resulted in the death of the victim.

b) Second, the defendant helped to commit the crime or encouraged
someone else to commit the crime.

c) And third, the defendant intended to help commit or encourage the crime.

The elements of Count 3 are:

a) First, the crime of Interstate Travel in Aid of Unlawful Activity, Death
Resulting, was committed. The crime of Interstate Travel in Aid of
Unlawful Activity, Death Resulting when:

i. An individual traveled in interstate commerce;

ii. The individual’s intent was to commit any crime of violence
to further an unlawful activity, in this case a business
enterprise involving narcotics or controlled substances;

iii. After the interstate travel, the individual knowingly and
willfully committed any crime of violence to further such
unlawful activity; and

iv. The individual’s conduct resulted in the death of the person.

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b) Second, the defendant helped to commit the crime or encouraged
someone else to commit the crime.
c) And third, the defendant intended to help commit or encourage the crime.
The elements of Count 5 are:
a) Two or more people conspired, or agreed, to commit the crime of
Possession with the Intent to Distribute and to Distribute Cocaine and
Heroin;
b) The defendant knowingly and voluntarily joined the conspiracy; and
c) The conspiracy involved more than five kilograms of cocaine, all of
which was attributable to defendant as the result of his own conduct and
the conduct of other co-conspirators that was reasonably foreseeable to
him.
5. Factual Basis
The parties agree that the following facts are true, accurately describe the
defendant’s role in the offenses, and provide a sufficient factual basis for the
defendant’s guilty plea:
Beginning in about June 2016, Mariano Garcia, Coconspirator 2 and others
conspired to distribute and to possess with the intent to distribute cocaine and
heroin in the Eastern District of Michigan and elsewhere. On June 15, 2016,

Coconspirator 2 introduced Garcia to Coconspirator 1 and Robert Eddins in

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Detroit. For the ensuing months, Garcia regularly supplied Coconspirator 1 and
Eddins kilograms of cocaine. Coconspirator 1 and Eddins had multiple meetings in
Texas, in the suburbs of Houston or Dallas, and also in Birmingham, Alabama.
Garcia provided approximately three to six kilograms of cocaine per shipment,
approximately every two weeks, on consignment. Coconspirator 1 and Eddins paid
$34,000 per kilogram.

In late October / early November 2016, Garcia fronted over ten kilograms of
cocaine to Coconspirator 1 and Eddins. Eddins took his portion of the cocaine to
Detroit to distribute. On November 18, 2016, Coconspirator 1 and Coconspirator 3,
drove from Birmingham, Alabama to Sugarland, Texas and met with Garcia.
Eddins met the others in Sugarland but did not bring all of the money he owed for
the fronted drugs. After the meeting, Coconspirator 1, now in debt to Garcia for his
and Eddins’ share decided to pay Garcia because he did not “want to fucking my
plug up.”

In December, Garcia repeatedly questioned Coconspirator 1 about finding
Eddins and getting his money. Garcia encouraged Coconspirator 1 to go to Detroit
to look for Eddins. On December 18, in the early morning hours, Coconspirator 1,
Coconspirator 3, and a third person left Birmingham, Alabama. Garcia knew that

Coconspirator 1 intended to kill or injure Eddins when he traveled to Detroit. Once

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they arrived in Detroit, Coconspirator 1 received a list of 11 addresses in Detroit
related to Robert Eddins.

At approximately 8:15 p.m., the next day, December 19, 2016,
Coconspirator 1 met Eddins at his residence on Pierson Street. Coconspirator |
ultimately entered the Pierson residence with Eddins. They were joined later by the
third person who had traveled from Alabama and a friend of Eddins’s, Ricardo
McFarlin. Coconspirator 3 stayed in the vehicle, parked a half a block away.

Coconspirator 1 and Garcia maintained contact throughout the night while
Coconspirator 1 was at the Pierson residence. Garcia encouraged Coconspirator 1
to hurt Eddins in order to collect the money they were owed.

Coconspirator i and the third person bound McFarlin in the basement.
Coconspirator i and the third person then used 9mm handguns to first threaten
Eddins and then shoot and kill Eddins and McFarlin. They used the pillows from
the upstairs living room couch to muffle the gunshot sounds. They ransacked the
house and left.

Coconspirator 1 and Coconspirator 3 both continued to communicate with
Garcia and met with him on January 3, 2017, in Katy, Texas to receive and
distribute what they believed was a kilogram of heroin (it tured out to be non-
narcotic heroin by products wrapped in a manner consistent with a kilogram of

heroin).

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From December 18 through 20, 2016, Garcia encouraged, counselled and
assisted Coconspirator 1 to travel interstate, between Alabama and Michigan, with
the intent to injure Robert Eddins due to the drug debt owed to him (Garcia).
Garcia encouraged, counselled and assisted Coconspirator 1 to engage in conduct
that placed Eddins in fear of death or serious bodily injury and that Eddins’ death
resulted.

From December 18 through 20, 2016, Garcia encouraged, counselled and
assisted Coconspirator I to travel interstate, between Alabama and Michigan, with
the intent to commit a crime of violence to further an unlawful activity. The
unlawful activity was a business enterprise involving narcotics, that is, the ongoing
cocaine distribution enterprise between Garcia, Coconspirator 1, Eddins,
Coconspirator 3 and others. Eddins’ death resulted from the crime of violence.

From June 2016 to January 4, 2017, Garcia engaged in a conspiracy to
possess with the intent to distribute cocaine. Garcia voluntarily joined the
conspiracy with Coconspirator 2, Coconspirator 1, Robert Eddins, and later
Coconspirator 3, to distribute cocaine. Garcia agrees that the overall conspiracy
involved over 50 kg of cocaine, and that the amount attributable to him as a result
of his own conduct and the conduct of other coconspirators reasonably foreseeable

to him during his involvement was between 50 to 150 kg of cocaine.

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Finally, the defendant, Mariano Garcia, agrees that he qualifies for
sentencing under U.S.C. §§ 841(b)(1)(A) and 851, because Count Five occurred
after he was previously convicted of a serious drug felony, Possession with Intent
to Distribute Cocaine, in the Middle District of Georgia on March 21, 2003.
Further, the defendant served a sentence of incarceration more than 12 months and
for which he was released within 15 years of June 2016.

6. Advice of Rights

The defendant has read the Third Superseding Indictment, has discussed the
charges and possible defenses with his attorney, and understands the crime(s)
charged. The defendant understands that, by pleading guilty, he is waiving many
important rights, including the following:

A. The right to plead not guilty and to persist in that plea;

B. The right to a speedy and public trial by jury;

C. The right to be represented by counsel—and, if necessary, have the

court appoint counsel—at trial;

D. The right to be presumed innocent and to require the government to

prove the defendant guilty beyond a reasonable doubt at trial;

E. The right to confront and cross-examine adverse witnesses at trial;

F. The right to testify or not to testify at trial, whichever the defendant

chooses;

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G. If the defendant chooses not to testify at trial, the right to have the jury
informed that it may not treat that choice as evidence of guilt;

H. The right to present evidence or not to present evidence at trial,
whichever the defendant chooses; and

I. The right to compel the attendance of witnesses at trial.

7. Collateral Consequences of Conviction

‘The defendant understands that his convictions here may carry additional
consequences under federal or state law. The defendant understands that, if he is
not a United States citizen, his convictions here may require him to be removed
from the United States, denied citizenship, and denied admission to the United
States in the future. The defendant further understands that the additional
consequences of his convictions here may include, but are not limited to, adverse
effects on the defendant’s immigration status, naturalized citizenship, right to vote,
right to carry a firearm, right to serve on a jury, and ability to hold certain licenses
or to be employed in certain fields. 'The defendant understands that no one,
including the defendant’s attorney or the Court, can predict to a certainty what the
additional consequences of the defendant’s convictions might be. The defendant
nevertheless affirms that the defendant chooses to plead guilty regardless of any

immigration or other consequences from his convictions.

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8. Defendant’s Guideline Range
A. Court’s Determination

The Court will determine the defendant’s guideline range at sentencing.

B. Acceptance of Responsibility

The government recommends under Federal Rule of Criminal Procedure
11(c)(1)(B) that the defendant receive a two-level reduction for acceptance of
responsibility under USSG § 3E1.1(a). Further, ifthe defendant’s offense level is
16 or greater and the defendant is awarded the two-level reduction under USSG
§ 3E1.1(a), the government recommends that the defendant receive an additional
one-level reduction for acceptance of responsibility under USSG § 3E1.1(b). ff,
however, the government learns that the defendant has engaged in any conduct
inconsistent with acceptance of responsibility—including, but not limited to,
making any false statement to, or withholding information from, his probation
officer; obstructing justice in any way; denying his guilt on the offenses to which
he is pleading guilty; committing additional crimes after pleading guilty; or
otherwise demonstrating a lack of acceptance of responsibility as defined in USSG
§ 3H .l—the government will be released from its obligations under this
paragraph, will be free to argue that the defendant not receive any reduction for
acceptance of responsibility under USSG § 3E1.1, and will be free to argue that the

defendant receive an enhancement for obstruction of justice under USSG § 3C1.1.

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Cc. Other Guideline Recommendations

The parties also recommend under Federal Rule of Criminal Procedure
11(c)(1)(B) that the following guideline provisions apply to the defendant’s
guideline calculation:

« Count One — USSG § 2A6.2(c) — Cross-reference for murder, §2A1.2
Second Degree Murder. Level 38

« Count Three — USSG § 2E1.2(a)(2) — Underlying crime of violence /
cross-reference for murder, §2A1.2 Second Degree Murder. Level 38

¢ Count Five —USSG § 2D1.1(d)(1) — Cross-reference for murder,
§2A1.2 Second Degree Murder. Level 38

e Onall three counts, Restraint of victim, USSG § 341.3. Plus 2 levels.

e Onall three counts, Aggravating role, organizer / manager, USSG §
3B1.1(c). Plus 2 levels.

The parties have no other joint recommendations as to the defendant’s
guideline calculation.

D. =‘ Factual Stipulations for Sentencing Purposes

The parties have no additional factual stipulations for sentencing purposes.

E. Parties’ Obligations

Both the defendant and the government agree not to take any position or

make any statement that is inconsistent with any of the guideline recommendations

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or factual stipulations in paragraphs 8.B, 8.C, or 8.D. Neither party is otherwise
restricted in what it may argue or present to the Court as to the defendant’s

guideline calculation.

BE, Not a Basis to Withdraw

The defendant understands that he will have no right to withdraw from this
agreement or withdraw his guilty plea if he disagrees, in any way, with the
guideline range determined by the Court, even if that guideline range does not
incorporate the parties’ recommendations or factual stipulations in paragraphs 8.B,
8.C, or 8.D. The government likewise has no right to withdraw from this
agreement if it disagrees with the guideline range determined by the Court.

9, Imposition of Sentence
A.  Court’s Obligation

The defendant understands that in determining his sentence, the Court must
calculate the applicable guideline range at sentencing and must consider that range,
any possible departures under the sentencing guidelines, and the sentencing factors
listed in 18 U.S.C. § 3553(a), and apply any applicable mandatory minimums.

B. Imprisonment

L. Agreement
Under Federal Rule of Criminal Procedure 11(c)(1)(C), the parties agree that

a sentence of 300 months’ imprisonment is the appropriate disposition of the case.

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2, Limited Right to Withdraw

If the Court rejects the agreement by deciding to impose a sentence of
imprisonment higher than permitted by paragraph 9.B.1, the defendant will be
permitted to withdraw his guilty plea. That is the only reason the defendant may
withdraw his guilty plea. If the defendant decides not to withdraw his guilty plea in
those circumstances, the defendant agrees that the Court may impose a sentence
higher than permitted by paragraph 9.B.1 and that all other provisions in this
agreement will remain in effect.

If the Court rejects the plea agreement by deciding to impose a sentence of
imprisonment lower than permitted by paragraph 9.B.1, or by rejecting or
purporting to reject any other term or terms of this agreement, the government will
be permitted to withdraw from this agreement.

C. Supervised Release
1. Recommendation

Under Federal Rule of Criminal Procedure 11(c)(1)(B), the parties
recommend that the Court impose a 10-year term of supervised release.

2. No Right to Withdraw

The parties’ recommendation is not binding on the Court. The defendant
understands that he will have no right to withdraw from this agreement or

withdraw his guilty plea if the Court decides not to follow the parties’

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recommendation. The defendant also understands that the government’s agreement
concerning the length of the defendant’s sentence of imprisonment, as described
above in paragraph 9.B.1, will not apply to or limit any term of imprisonment that
results from any later revocation of the defendant’s supervised release.

D. Fines

There is no recommendation or agreement as to a fine.

E. Restitution

The Court must order restitution to every identifiable victim of the
defendant’s offense. There is no recommendation or agreement on restitution. The
Court will determine at sentencing who the victims are and the amounts of
restitution they are owed.

The defendant agrees that restitution is due and payable immediately after
the judgment is entered and is subject to immediate enforcement, in full, by the
United States. 18 U.S.C. §§ 3612(c) and 3613. If the Court imposes a schedule of
payments, the defendant agrees that the schedule of payments is a schedule of the
minimum payment due, and that the payment schedule does not prohibit or limit
the methods by which the United States may immediately enforce the judgment in
full,

The defendant agrees to make a full presentence disclosure of his financial

status to the United States Attorney’s Office by completing a Financial Disclosure

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Form and the accompanying releases for the purpose of determining his ability to
pay restitution. The defendant agrees to complete and return the Financial
Disclosure Form within three weeks of receiving it from government counsel. The
defendant agrees to participate in a presentencing debtor’s examination if
requested to do so by government counsel.

F. Special Assessment

The defendant understands that he will be required to pay a special
assessment of $300, due immediately upon sentencing.

10. Appeal Waiver

The defendant waives any right he may have to appeal his conviction on any
grounds. If the defendant’s sentence of imprisonment does not exceed 300 months,
the defendant also waives any right he may have to appeal his sentence on any
grounds.

ti. Collateral Review Waiver

The defendant retains the right to raise claims alleging ineffective assistance
of counsel or prosecutorial misconduct, as long as the defendant properly raises
those claims by collateral review under 28 U.S.C. § 2255. The defendant also
retains the right to pursue any relief permitted under 18 U.S.C. § 3582(c), as long
as the defendant properly files a motion under that section. The defendant,

however, waives any other right he may have to challenge his conviction or

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sentence by collateral review, including, but not limited to, any right he may have
to challenge his conviction or sentence on any grounds under 28 U.S.C. § 2255
(except for properly raised ineffective assistance of counsel or prosecutorial
misconduct claims, as described above), 28 U.S.C. § 2241, or Federal Rule of Civil
Procedure 59 or 60.

12. Remedies for Withdrawal, Breach, Rejection, or Vacatur

If the defendant is allowed to withdraw his guilty plea(s) or breaches this
agreement, or if the Court rejects this agreement, or if the defendant’s conviction
or sentence under this agreement is vacated, the government may reinstate any
charges against the defendant that were dismissed as part of this agreement and
may file additional charges against the defendant relating, directly or indirectly, to
any of the conduct underlying the defendant’s guilty plea or any relevant conduct.
If the defendant has been permitted to plead guilty to a lesser-included offense, the
government may also reinstate any charges or file any additional charges against
the defendant for the greater offense, and the defendant waives his double-jeopardy
rights with respect to the greater offense. If the government reinstates any charges
or files any additional charges as permitted by this paragraph, the defendant waives
his right to challenge those charges on the ground that they were not filed in a
timely manner, including any claim that they were filed after the limitations period

expired.

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13. Use of Withdrawn Guilty Plea

The defendant agrees that if he is permitted to withdraw his guilty plea for
any reason, he waives all of his rights under Federal Rule of Evidence 410, and the
government may use his guilty plea, any statement that the defendant made at his
guilty plea hearing, and the factual basis set forth in this agreement, against the
defendant in any proceeding.

14. Parties to Plea Agreement

This agreement does not bind any government agency except the United
States Attorney’s Office for the Eastern District of Michigan.

15. Scope of Plea Agreement

This plea agreement is the complete agreement between the parties and
supersedes any other promises, representations, understandings, or agreements
between the parties concerning the subject matter of this agreement that were made
at any time before the guilty plea is entered in court. Thus, no oral or written
promises made by the government to the defendant or to the attorney for the
defendant at any time before the defendant pleads guilty are binding except to the
extent they have been explicitly incorporated into this plea agreement. If the parties
have entered, or subsequently enter, into a written proffer or cooperation
agreement, though, this plea agreement does not supersede or abrogate the terms of

that agreement. This plea agreement also does not prevent any civil or

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administrative actions against the defendant, or any forfeiture claim against any

property, by the United States or any other party.

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16. Acceptance of Agreement by Defendant

This plea offer expires unless it has been received, fully signed, in the
United States Attorney’s Office by 5:00 PM on April 27, 2023. The government
may withdraw from this agreement at any time before the defendant pleads guilty.

Dawn N. Ison

\, United States Attorney
Craig Wininger Rajesh Prasad and Robert Moran

Chief, Violence and Organized Crime Assistant United States Attorneys

Unit

Assistant United States Attorney
Dated: 4/24/2023

By signing below, the defendant and his attorney agree that the defendant

has read or been read this entire document, has discussed it with his attorney, and
has had a full and complete opportunity to confer with his attorney. The defendant
further agrees that he understands this entire document, agrees to its terms, has had

all of his questions answered by his attorney, and is satisfied with his attorney’s

advice and representation.

Mervyn Mossbackér Mariano Lozoya Garcia
Attorney for Defendant Defendant

Dated: Ag\ c= ie 2

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